Case:20-16813-JGR Doc#:47 Filed:10/19/20                 Entered:11/19/20 15:14:12 Page1 of 1




                          UNITED STATES BANKRUPTCY COURT
                           FOR THE DISTRICT OF COLORADO

In re: Chee Wei Fong                              )
                                                  ) Case No. 20-16813-KHT
                                                  )
                                                  ) &KDSWHU
                               Debtor.            ) Subchapter V
                                                  )

    ORDER AUTHORIZING EMPLOYMENT OF BUECHLER LAW OFFICE, LLC
             AS COUNSEL FOR THE DEBTOR-IN-POSSESSION


       THIS MATTER having come before the Court on the Debtor’s Application to Employ
Buechler Law Office, LLC, as Counsel for the Debtor, the Court having examined the Application
and the attached Affidavit of Michael J. Guyerson on behalf of Buechler Law Office, LLC, and
being otherwise fully advised in the premises, it is hereby

        FINDS that Buechler Law Office, LLC neither holds nor represents an interest adverse to the
estate with respect to matters within the scope of retention, is a disinterested person under 11 U.S.C.
§§101 and 327, and that their employment is necessary and in the best interest of the estate.

        The Court ORDERS that the Application is GRANTED. The Debtor is authorized to employ
the firm of Buechler Law Office, LLC, as counsel for the Debtor in this bankruptcy case nunc pro
tunc as of the filing of the Application.


                         2FWREHU
DATED this WK day of _______________, 2020.

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                                               -RVHSK*5RVDQLD-U
                                               U.S. Bankruptcy Court Judge
